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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

This notice is for you if:

® You are an individual filing for bankruptcy,
and

® Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a
personal, family, or household purpose.”

 

 

 

 

The types of bankruptcy that are available
to individuals

individuals who meet the qualifications may file under one
of four different chapters of the Bankruptcy Code:

Chapter 7 -- Liquidation

Chapter 11 -- Reorganization

®@ Chapter 12 -- Voluntary repayment plan for family
farmers or fishermen

Chapter 13 -- Voluntary repayment plan for
individuals with regular income

You should have an attorney review your
decision to file for bankruptcy and the choice
of chapter.

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Chapter 7: Liquidation

 

$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

 

Chapter 7 is for individuals who have financial difficulty
preventing them from paying their debts and who are
willing to allow their non-exempt property to be used to
pay their creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after bankruptcy from
having to pay many of your pre-bankruptcy debts.
Exceptions exist for particular debts, and liens on
property may still be enforced after discharge. For
example, a creditor may have the right to foreclose a
home mortgage or repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your discharge.

You should know that the even if you file chapter 7 and
you receive a discharge, some debts are not discharged
under the law. Therefore, you may still be responsible to

pay:

@ most taxes;
@ most student loans;

® domestic support and property settlement obligations;

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© most fines, penalties, forfeitures, and criminal
restitution obligations; and

® certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:

fraud or theft;

fraud or defalcation while acting in breach of fiduciary
capacity;

©@ _ intentional injuries that you inflicted; and

death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from
alcohol or drugs.

If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have

enough income to repay creditors a certain amount. You
must file Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A-1) if you are an individual filing
for bankruptcy under chapter 7. This form will determine
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

lf your income is above the median for your state, you must
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--
sometimes called the Means Test-- deduct from your
income living expenses and payments on certain debts to
determine any amount available to pay unsecured
Creditors. If your income is more than the median income

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for your state of residence and family size, depending

on the results of the Means Test, the U.S. trustee,
bankruptcy administrator, or creditors can file a motion to
dismiss your case under § 707(b) of the Bankruptcy
Code. If a motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal, you may
choose to proceed under another chapter of the
Bankruptcy Code.

If you are an individual filing for chapter 7 bankruptcy, the
trustee may sell your property to pay your debts, subject
to your right to exempt the property or a portion of the
proceeds from the sale of the property. The property,
and the proceeds from property that your bankruptcy
trustee sells or liquidates that you are entitled to, is
called exempt property. Exemptions may enable you to
keep your home, a car, clothing, and household items or
to receive some of the proceeds if the property is sold.

Exemptions are not automatic, To exempt property, you
must list it on Schedule C: The Property You Claim as
Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee
+ $550 administrative fee

$1,717

 

total fee
Chapter 11 is often used for reorganizing a business, but

is also available to individuals. The provisions of chapter
11 are too complicated to summarize briefly.

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Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a
mistake or inaction may harm you. If you file without an attorney, you are still responsible for
knowing and following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up

 

to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family farmers
or fishermen

 

$200 filing fee
+ $75 administrative fee

$275

 

total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for individuals with
regular income

 

$235 filing fee
+ $75 administrative fee

$310

 

total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

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Under chapter 13, you must file with the court a plan to
repay your creditors all or part of the money that you owe
them, usually using your future earnings. If the court
approves your plan, the court will allow you to repay your
debts, as adjusted by the plan, within 3 years or 5 years,
depending on your income and other factors.

After you make all the payments under your plan, many
of your debts are discharged. The debts that are not
discharged and that you may still be responsible to pay
include:

domestic support obligations,
most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your bankruptcy
papers,

@ certain debts for acts that caused death or personal
injury, and

® certain long-term secured debts.

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Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires
that you promptly file detailed information about
your creditors, assets, liabilities, income, expenses
and general financial condition. The court may
dismiss your bankruptcy case if you do not file this
information within the deadlines set by the
Bankruptcy Code, the Bankruptcy Rules, and local
rules of the court.

For more information about the documents and
their deadlines, go to:

http://www.uscourts.gov/bkforms/bankruptcy forms

-html#procedure.

 

 

 

Bankruptcy crimes have serious
consequences

© = If you knowingly and fraudulently conceal assets or
make a false oath or statement under penalty of
perjury--either orally or in writing--in connection with
a bankruptcy case, you may be fined, imprisoned, or
both,

@ All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S. Department
of Justice.

Make sure the court has your mailing
address

The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.

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A married couple may file a bankruptcy case together--
called a joint case. If you file a joint case and each
spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could
receive from credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:

http://justice.gov/ust/eo/hapcpa/ccde/cc approved.html.
In Alabama and North Carolina, go to:

http://www. uscourts.gov/FederalCourts/Bankruptcy/Bankru
ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

If you do not have access toa computer, the clerk of the
bankruptcy court may be able to help you obtain the list.

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